
15 N.Y.2d 690 (1965)
The People of the State of New York, Respondent,
v.
Daniel Rogers, Appellant.
Court of Appeals of the State of New York.
Argued November 17, 1964.
Decided January 7, 1965.
John E. Adamson, Jr., for appellant.
Michael F. Dillon, District Attorney (Arthur G. Baumeister and Barbara M. Sims of counsel), for respondent.
Concur: Chief Judge DESMOND and Judges DYE, FULD, VAN VOORHIS, BURKE, SCILEPPI and BERGAN.
Order affirmed (see People v. Nicholson, 11 N Y 2d 1067; People v. Jones, 11 N Y 2d 1070; People v. Howard, 12 N Y 2d 65). No opinion.
